                  Content may be subject to confidentiality provisions/disclosure restrictions under U.S. law
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                                                DEPARTMENT OF HOMELAND SECURITY
                                                           NOTICE TO APPEAR

 In removal proceedings under section 240 of the Immigration and Nationality Act:
 Subject ID:390365519                            FINS #:1351340402
                                                 DOB: 02/16/2002                                       File No: A245 614 060
 In the Matter of:                                                                                              Event No:EGT2412000586
 Respondent:                                   CRISTHIAN ADRIAN ORTEGA-LOPEZ                                                    currently residing at:

                     2055 S ONEIDA ST STE 290 DENVER, COLORADO, 80224                                                 +1 (210) 222-1294
                              (Number, street, city, state and ZIP code)                                         (Area code and
                                                                                                                             nd ph
                                                                                                                                pho
                                                                                                                                phone number)




                                                                                                                          E
      You are an arriving alien.
      You are an alien present in the United States who has not been admitted or paroled.




                                                                                                              AT
      You have been admitted to the United States, but are removable for the reasons stated below.

 The Department of Homeland Security alleges that you:




                                                                                                     IC
 1. You are not a citizen or national of the United States;
 2. You are a native of VENEZUELA and a citizen of VENEZUELA ;
 3. You entered into the United States at or near EAGLE PASS,
                                                            S, TX , on or about December




                                                                                         PL
 15, 2023 ;
 4. You were not then admitted or paroled after inspection
                                                        on by an Immigration Officer.

                                                                             DU
                                                                    o removal from
 On the basis of the foregoing, it is charged that you are subject to         f    the United States pursuant to the following
                                    D

 provision(s) of law:
 212(a)(6)(A)(i) of the Immigration and Nationality
                                          ationalit Act, as amended, in that you are an
                                         Nationalit
                                 IE


 alien present in the United States without
                                       hout being
                                             bein admitted or paroled, or who entered
 into the United States at any time or
                                     r place other
                                              ot
                                              o     than as designated by the Secretary
 of the Department of Homeland Security.
                                    ity.
                              IF
                           RT




                                             ylum officer
      This notice is being issued after an asylum office has
                                                          h found that the respondent has demonstrated a credible fear of
      persecution or torture.

                                     ated pursuant
      Section 235(b)(1) order was vacated pursuan to:                    8CFR 208.30              8CFR 235.3(b)(5)(iv)
                        CE




                       ear before an immigration judge of the United States Department of Justice at:
 YOU ARE ORDERED to appear
                                        196 STOUT STREET, STE. 3101 DENVER CO 80294
                                        1961
                     UN




                                        (Complete
                                        (Co
                                         C        Address of Immigration Court, including Room Number, if any)

 on     July 29, 2025
                 202               at
                                   a       01:00 PM          to show why you should not be removed from the United States based on the
               (Date)                         (Time)
                                                                                                                  AMANDO MENDEZ JR
 charge(s) set forth above.               Acting/Patrol Agent in Charge                                           Date: 2023.12.18 01:13:13 -06:00
                                                                                                                  0530473298.CBP
                                                                            (Signature and Title of Issuing Officer)
                                                                                                                  r)

 Date: December 18, 2023                                                                  Laredo, TX
                                                                                         (City and State)




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                                                                                                                    Government Exhibit 2
                                                                   Page 23 of 30
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                                                                   Notice to Respondent
 Warning: Any statement you make may be used against you in removal proceedings.
 Alien Registration: This copy of the Notice to Appear served upon you is evidence of your alien registration while you are in removal proceedings.
 You are required to carry it with you at all times.
 Representation: If you so choose, you may be represented in this proceeding, at no expense to the Government, by an attorney or other individual
 authorized and qualified to represent persons before the Executive Office for Immigration Review, pursuant to 8 CFR 1003.16. Unless you so
 request, no hearing will be scheduled earlier than ten days from the date of this notice, to allow you sufficient time to secure counsel. A list of
 qualified attorneys and organizations who may be available to represent you at no cost will be provided with this notice.
 Conduct of the hearing: At the time of your hearing, you should bring with you any affidavits or other documents that you desire to have considered
 in connection with your case. If you wish to have the testimony of any witnesses considered, you should arrange to have such witnesses present at
 the hearing. At your hearing you will be given the opportunity to admit or deny any or all of the allegations in the Notice to Appear, including that you
 are inadmissible or removable. You will have an opportunity to present evidence on your own behalf, to examine any evidence presented by the
 Government, to object, on proper legal grounds, to the receipt of evidence and to cross examine any witnesses presented by the      e Government.
                                                                                                                                       G              At the
 conclusion of your hearing, you have a right to appeal an adverse decision by the immigration judge. You will be advised by the  he immi
                                                                                                                                      immig
                                                                                                                                      immigration judge
                                                                                                                                 parture. You w
 before whom you appear of any relief from removal for which you may appear eligible including the privilege of voluntary departure.           will be given




                                                                                                                                 E
 a reasonable opportunity to make any such application to the immigration judge.
 One-Year Asylum Application Deadline: If you believe you may be eligible for asylum, you must file a Form I-589, Application
                                                                                                                           pplication for Asylum and for




                                                                                                                     AT
 Withholding of Removal. The Form I-589, Instructions, and information on where to file the Form can be found at www.uscis.gov/i-589.
                                                                                                                       ww.uscis.gov
                                                                                                                       ww.uscis.gov/
                                                                                                                                  g           Failure to file
 the Form I-589 within one year of arrival may bar you from eligibility to apply for asylum pursuant to section 208(a)(2)(B)
                                                                                                                     )(2)(B)
                                                                                                                       2)(B) of the Immigration
                                                                                                                                    Im          and
 Nationality Act.
 Failure to appear: You are required to provide the Department of Homeland Security (DHS), in writing, with your full mailingmail
                                                                                                                             mailin address and telephone
 number. You must notify the Immigration Court and the DHS immediately by using Form EOIR-33 whenever           ver you change
                                                                                                                         chang your address or telephone




                                                                                                            IC
 number during the course of this proceeding. You will be provided with a copy of this form. Notices of hearingaring will be mailed
                                                                                                              earing         m      to this address. If you do
 not submit Form EOIR-33 and do not otherwise provide an address at which you may be reached during         ing proceedings,
                                                                                                                proceeding
                                                                                                                 roceed       then the Government shall not
 be required to provide you with written notice of your hearing. If you fail to attend the hearing at the time and place designated on this notice, or any




                                                                                                 PL
 date and time later directed by the Immigration Court, a removal order may be made by the immigration  ration judge in your absence, and you may be
                                                                                                       gration
 arrested and detained by the DHS.
 Mandatory Duty to Surrender for Removal: If you become subject to a final order of removal,         oval,
                                                                                                       val, you must
                                                                                                                 m    surrender
                                                                                                                      s          for removal to your local DHS
 office, listed on the internet at http://www.ice.gov/contact/ero, as directed by the DHS and       nd required by statute and regulation. Immigration
 regulations at 8 CFR 1241.1 define when the removal order becomes administratively final.
                                                                                    DU           nal. If you are
                                                                                                               ar granted
                                                                                                                  g        voluntary departure and fail to depart
 the United States as required, fail to post a bond in connection with voluntary departure,    re, or fail to comply
                                                                                                              com
                                                                                                              co     with any other condition or term in
 connection with voluntary departure, you must surrender for removal on the next business  usiness
                                                                                             siness day thereafter.
                                                                                                           the        If you do not surrender for removal as
 required, you will be ineligible for all forms of discretionary relief for as long as youu remain in the
                                                                                                        t United States and for ten years after your departure
 or removal. This means you will be ineligible for asylum, cancellation of removal,   al, voluntary
                                                                                             untary departure,
                                                                                                      de          adjustment of status, change of nonimmigrant
 status, registry, and related waivers for this period. If you do not surrender forr removal as re  required, you may also be criminally prosecuted under
 section 243 of the Immigration and Nationality Act.
                                  D

 U.S. Citizenship Claims: If you believe you are a United States citizen, please advise the
                                                                                        t DHS by calling the ICE Law Enforcement Support Center
 toll free at (855) 448-6903.
                               IE


 Sensitive locations: To the extent that an enforcement action leading
                                                                  ading to a removal
                                                                             remo    proceeding was taken against Respondent at a location
 described in 8 U.S.C. § 1229(e)(1), such action complied with 8 U.S.C. § 1367.
                                                                          1367
                             IF




                                                               Request for Prompt Hearing
                          RT




 To expedite a determination in my case, I requestt this Notice to Appear be filed with the Executive Office for Immigration Review as soon as
 possible. I waive my right to a 10-day period prior
                                                rior to appearing
                                                        appearin before an immigration judge and request my hearing be scheduled.
                                                        appear

 Before:
                                                                                                                     (Signature of Respondent)
                       CE




                                                                                                                               Date:
                          (Signature
                                   e and Title of Immigration
                                                  IIm         Officer)

                                                                    Certificate of Service
                     UN




                                                                         December 18, 2023
  This Notice To Appear wass served on the respondent by me on                               , in the following manner and in compliance with section
  239(a)(1) of the Act.

        in person           by certified
                                certif
                                   ti    mail, returned receipt #                requested               by regular mail
        Attached is a credible fear worksheet.
        Attached is a list of organization and attorneys which provide free legal services.

  The alien was provided oral notice in the                   SPANISH                     language of the time and place of his or her hearing and of the
  consequences of failure to appear as provided in section 240(b)(7) of the Act.
                                                                                 CARLOS LOPEZ, Border Patrol             CARLOS O LOPEZ
                                                                                 Agent                                   Date: 2023.12.18 03:35:57 -06:00
             (Signature of Respondent if Personally Served)                                              (Signature and Title of officer)
                                                                                                                         0692494779.CBP


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                                                                  Privacy Act Statement

Authority:
The Department of Homeland Security through U.S. Immigration and Customs Enforcement (ICE), U.S Customs and Border Protection (CBP), and U.S.
Citizenship and Immigration Services (USCIS) are authorized to collect the information requested on this form pursuant to Sections 103, 237, 239, 240,
and 290 of the Immigration and Nationality Act (INA), as amended (8 U.S.C. 1103, 1229, 1229a, and 1360), and the regulations issued pursuant thereto.

Purpose:
You are being asked to sign and date this Notice to Appear (NTA) as an acknowledgement of personal receipt of this notice. This notice, when filed with
the U.S. Department of Justice’s (DOJ) Executive Office for Immigration Review (EOIR), initiates removal proceedings. The NTA contains information
regarding the nature of the proceedings against you, the legal authority under which proceedings are conducted, the acts or conduct alleged against you
to be in violation of law, the charges against you, and the statutory provisions alleged to have been violated. The NTA also includes information about
the conduct of the removal hearing, your right to representation at no expense to the government, the requirement to inform EOIR of any change in
address, the consequences for failing to appear, and that generally, if you wish to apply for asylum, you must do so within one year of your arrival in the
United States. If you choose to sign and date the NTA, that information will be used to confirm that you received it, and for recordkeeping.
                                                                                                                                    kee

Routine Uses:




                                                                                                                               E
For United States Citizens, Lawful Permanent Residents, or individuals whose records are covered by the Judicial Redress Act of 2015 (5 U.S.C. § 552a
note), your information may be disclosed in accordance with the Privacy Act of 1974, 5 U.S.C. § 552a(b), including pursuantant to the routine
                                                                                                                                        routin uses
                                                                                                                                        routi
published in the following DHS systems of records notices (SORN): DHS/USCIS/ICE/CBP-001 Alien File, Index, and National  ational
                                                                                                                          tional File Tracking
                                                                                                                                       Tra
                                                                                                                                       T          System of




                                                                                                                   AT
Records, DHS/USCIS-007 Benefit Information System, DHS/ICE-011 Criminal Arrest Records and Immigration Enforcement   rcement
                                                                                                                       cement Records
                                                                                                                                Record
                                                                                                                                Recor (CARIER), and
DHS/ICE-003 General Counsel Electronic Management System (GEMS), and DHS/CBP-023 Border Patrol Enforcement         ement
                                                                                                                    ment Records
                                                                                                                            Record (BPER). These
SORNs can be viewed at https://www.dhs.gov/system-records-notices-sorns. When disclosed to the DOJ’s EOIR       R for immigration
                                                                                                                       immigratio proceedings, this
information that is maintained and used by DOJ is covered by the following DOJ SORN: EOIR-001, Records and     nd Management
                                                                                                                  Managemen Information System, or
                                                                                                                  Managem
any updated or successor SORN, which can be viewed at https://www.justice.gov/opcl/doj-systems-records. Further,
                                                                                                              urther, your iinformation may be disclosed




                                                                                                          IC
pursuant to routine uses described in the abovementioned DHS SORNs or DOJ EOIR SORN to federal, state,   tate,        tribal, territorial, and foreign law
                                                                                                          ate, local, triba
enforcement agencies for enforcement, investigatory, litigation, or other similar purposes.

For all others, as appropriate under United States law and DHS policy, the information you provide may   ay be shared internally within DHS, as well as with




                                                                                               PL
federal, state, local, tribal, territorial, and foreign law enforcement; other government agencies; and
                                                                                                      d other parties for enforcement, investigatory, litigation,
or other similar purposes.

Disclosure:
Providing your signature and the date of your signature is voluntary. There are no effects on you for not
                                                                                  DU                  n providing your signature and date; however,
removal proceedings may continue notwithstanding the failure or refusal to provide this information.
                                                                    ED
                             I                              FI
                          RT
                       CE
                     UN




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